 1                                              THE HONORABLE RICARDO S. MARTINEZ
                                                   NOTING DATE: Thursday, March 20, 2025
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                            UNITED STATES DISTRICT COURT
 9                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
10
      JOSEPH SANT, MERTON CHUN,
11    RONESHA SMITH, and HEATHER                   CAUSE NO. 2:24-cv-1626
      NICASTRO, individually and on behalf of
12    all others similarly situated,               ROCKETREACH LLC’S MOTION TO
                        Plaintiffs,                STRIKE CLASS ALLEGATIONS
13
                 v.
14    ROCKETREACH LLC,

15                      Defendant.

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     ROCKETREACH LLC’S MOTION TO STRIKE CLASS                  WILSON, ELSER, MOSKOWITZ,
                                                                 EDELMAN & DICKER LLP
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 1          COMES NOW, Defendant RocketReach LLC (“RocketReach” or “Defendant”), by and

 2   through its undersigned counsel, and hereby files this Motion to Strike Class Allegations,

 3   stating as follows:

 4                                          INTRODUCTION

 5          On October 8, 2024, Plaintiffs Joseph Sant, Merton Shun, Ronesha Smith, and Heather

 6   Nicastro (“Plaintiffs”), individually and on behalf of putative classes, filed the Class Action

 7   Complaint (“Complaint”) asserting claims under the right of publicity statutes of Washington,

 8   California, Illinois, and Ohio. RocketReach provides free and subscription-based products for

 9   those seeking publicly available information stored in its database, which is intended to be used

10   by professionals to find other professionals. Plaintiffs generally contend that RocketReach

11   “misappropriates” their information by creating purported “free-preview profile” and “free-trial

12   preview profile” pages that appear in the RocketReach database.

13          Plaintiffs seek to bring this action individually and on behalf of ten proposed classes

14   identified in the Complaint. Plaintiffs First Claim for Relief seeks relief on a class basis through

15   a nationwide class. Complaint ¶¶ 187-188, 190-191, 193-194, 196-197. The other Claims for

16   Relief assert class relief through a state-wide class. Complaint ¶¶ 184-185. All of the class

17   definitions refer to “All natural persons” for whom Defendant established either a free-preview

18   “profile” page or a free-trial “profile” page on www.rocketreach.co. Complaint ¶ 184-185, 187-

19   188, 190-191, 193-194, 196-197.

20          Defendant seeks to strike Plaintiffs’ class allegations on the grounds that the Complaint,

21   on its face, makes clear that certain of the right of publicity statutes preclude class claims such

22   that they should be stricken. Additionally, individualized issues of law and fact predominate

23   over questions affecting individual proposed class members. In light of the foregoing, a class

24   action is also not a superior method by which to adjudicate the claims against Defendant.

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     ROCKETREACH LLC’S MOTION TO STRIKE CLASS                            WILSON, ELSER, MOSKOWITZ,
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 1                       ARGUMENT AND CITATION TO AUTHORITY

 2   I.     The Court should strike the class allegations under Rules 12(f) and 23(c)

 3          A.      Applicable Standards

 4          Rule 12(f) allows courts to “strike from a pleading an insufficient defense or any

 5   redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). Rule 23(c)

 6   states that “[a]t an early practicable time . . . , the court must determine by order whether to

 7   certify the action as a class action.” Fed. R. Civ. P. 23(c)(1)(A). Rule 23(d) allows courts to

 8   order “that the pleadings be amended to eliminate allegations of absent persons and that the

 9   action proceed accordingly.” Fed. R. Civ. P. 23(d)(1)(D). These rules permit courts to strike

10   class allegations in a complaint before discovery. Cashatt v. Ford Motor Co., No. 3:19-cv-

11   05886, 2021 U.S. Dist. LEXIS 56724, at *2-3 (W.D. Wash. Mar. 24, 2021) (“Courts in this

12   circuit have cut off class actions when little-to-no discovery had taken place.”)

13          A court should strike class allegations when “the complaint demonstrates that a class

14   action cannot be maintained on the facts alleged.” Sanders v. Apple Inc., 672 F. Supp. 2d 978,

15   989-90 (N.D. Cal. 2009). The burden is on the plaintiff to “advanc[e] a prima facie showing

16   that the class action requirements of Fed. R. Civ. P. 23 are satisfied or that discovery is likely

17   to produce substantiation of the class allegations.” Mantolete v. Bolger, 767 F.2d 1416, 1424

18   (9th Cir. 1985).

19          B.      Plaintiffs waived any class claims

20          As explained in Defendant’s Motion to Compel Arbitration, Plaintiffs agreed to

21   RocketReach’s Terms of Service, which includes an arbitration agreement (the “Arbitration

22   Agreement”). The Arbitration Agreement provides that Plaintiffs cannot pursue claims as a

23   class action. Nevertheless, Plaintiffs have filed the present suit as a class action. As the

24   Arbitration Agreement is a valid and binding agreement, the class action waiver contained

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     ROCKETREACH LLC’S MOTION TO STRIKE CLASS                           WILSON, ELSER, MOSKOWITZ,
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 1   therein is also enforceable against Plaintiff. Accordingly, the Court should dismiss and/or strike

 2   Plaintiffs’ class claims in accordance with the Arbitration Agreement.

 3          C.      The Washington Personality Rights Act prohibits class actions.

 4          Plaintiffs First and Second Claims for Relief are raised pursuant to the Washington

 5   Personality Rights Act (“WPRA”). The First Claim for Relief is alleged on behalf of all

 6   Plaintiffs, individually and on behalf of nationwide classes. Complaint ¶¶ 209-222. The Second

 7   Claim for Relief is alleged on behalf of Plaintiff Sant, individually and on behalf of the

 8   Washington Classes. Complaint ¶¶ 223-236. These class claims should be stricken because the

 9   WPRA precludes claims brought as a class action. Specifically, Revised Code of Washington

10   § 63.60.070, titled “Exemptions from use restrictions—When chapter does not apply,” states:

11          It is no defense to an infringement action under this chapter that the use of an
            individual’s or personality’s name, voice, signature, photograph, or likeness
12          includes more than one individual or personality so identifiable. However, the
            individuals or personalities complaining of the use shall not bring their cause
13          of action as a class action.
14   Wash. Rev. Code § 63.60.070(3) (2024) (emphasis added).
15          Generally, federal courts in diversity cases “apply state substantive law and federal
16   procedural law.” Hanna v. Plumer, 380 U.S. 460, 465 (1965). Here, the class action ban in the
17   WPRA functions as part of that statute’s definition of substantive rights and remedies and
18   should therefore be enforced. In Shady Grove Orthopedic Associates, P.A. v. Allstate Ins. Co.,
19   559 U.S. 393 (2010), Justice Stevens’s concurring opinion recognized that “there are some state
20   procedural rules that federal courts must apply in diversity cases because they function as part
21   of the State’s definition of the substantive rights and remedies.” Id. at 416-17 (Stevens, J.,
22   concurring). As he stated, a federal rule “cannot govern a particular case in which the rule would
23   displace a state law that is procedural in the ordinary use of the term but is so intertwined with
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     ROCKETREACH LLC’S MOTION TO STRIKE CLASS                           WILSON, ELSER, MOSKOWITZ,
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 1   a state right or remedy that it functions to define the scope of the state-created right.” Id. at 423

 2   (Stevens, J., concurring).

 3           The first step in the analysis is whether the WPRA class action bar conflicts with Rule

 4   23. See Ellis v. Salt River Project Agric. Improvement & Power Dist., 24 F.4th 1262, 1269 (9th

 5   Cir. 2022). Here, there is such a conflict, but “[t]hat does not mean . . . that the federal rule

 6   always governs.” Shady Grove, 559 U.S. at 417. Instead, the next step is whether following the

 7   federal rule would violate the Rules Enabling Act (“Enabling Act”), which “instructs only that

 8   federal rules cannot ‘abridge, enlarge or modify any substantive right.’” Id. (citing Enabling

 9   Act, § 2072(b)). In his analysis, Justice Stevens considered the following factors: “(1) whether

10   the state procedural rule was located in the general code of procedure or with the substantive

11   law; (2) whether the state procedural rule applied to only claims brought under the substantive

12   laws of that state (suggesting the state procedural law defined the state rights or remedies) or

13   all claims (suggesting it did not); and (3) whether the legislative history suggested the state

14   procedural rule was ‘intimately bound up in the scope of a substantive right or remedy.’” Hines

15   v. OhioHealth Corp., 680 F.Supp.3d 861, 868 (S.D. Ohio 2023) (quoting Shady Grove, 559

16   U.S. at 432-36).

17           Here, the above factors weigh in favor of the WPRA class action ban being substantive.

18   The ban appears in the same section of the statute as the substantive provisions providing for

19   exemptions from use restrictions under the statute. RCW § 63.60.070. Moreover, the class

20   action ban applies only to the WPRA. Additionally, the legislative history of the WPRA

21   reinforces that the statute was intended to extend only on an individual basis for purposes of

22   proving a substantive claim. See Wash. House Bill Rep., 1998 Reg. Sess. H.B. 1074 (“However,

23   an individual or personality who sues the infringer must do so on his or her own behalf, as

24   opposed to part of the group ….”).

25
     ROCKETREACH LLC’S MOTION TO STRIKE CLASS                             WILSON, ELSER, MOSKOWITZ,
                                                                            EDELMAN & DICKER LLP
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 1           Because all three factors weigh in favor of the class action ban, the Court should apply

 2   the ban and strike Plaintiffs’ class allegations.

 3           D.      Plaintiffs impermissibly apply Washington law to putative class members

 4                   domiciled elsewhere.

 5           Even if the Court determines that the WPRA ban on class actions does not preclude

 6   Plaintiffs’ class claims, Plaintiffs’ class allegations in the First and Second Claims for Relief

 7   otherwise should be stricken because they cannot apply Washington law to putative class

 8   members domiciled in other states and governed by the laws of those states. “Understanding

 9   which law will apply before making a predominance determination is important when there are

10   variations in applicable state law,” and “potentially varying state laws may defeat predominance

11   in certain circumstances.” Senne v. Kansas City Royals Baseball Corp., 934 F.3d 918, 928 (9th.

12   Cir. 2019) (quoting Zinser v. Accufix Research Inst., Inc. 253 F.3d 1180 (9th Cir. 2001)).

13   Washington choice-of-law rules prescribe a two-part test. First, a court must determine whether

14   there is an actual conflict between the laws or interests of Washington and the laws or interests

15   of another state before engaging in a conflict of laws analysis. Erwin v. Cotter Health Ctrs.,

16   161 Wn.2d 676, 167 P.3d 1112, 1120 (Wash. 2007). “If the result of a particular issue is

17   different under the law of the two states, there is a real conflict.” Id. Second, when a conflict

18   exists and the parties have not made an express choice of law, courts must apply the “most

19   significant relationship test,” as set forth in the Restatement (Second) of Conflict of Laws. Id. at

20   1120-21.

21                   1.      There is an actual conflict between the laws or interests of Washington

22                           and the laws or interests of other states’ right to publicity laws.

23           Right of publicity laws present “a crazy quilt of different responses at different times to

24   different demands on the legislatures.” J. Thomas McCarthy, The Rights of Publicity and

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 1   Privacy 2d § 6:6 (2014). Courts have recognized a conflict among states’ right of publicity

 2   laws. See, e.g., Dryer v. Nat’l Football League, 2013 WL 5888231, at *5 (D. Minn. Nov. 1,

 3   2013), aff’d sub nom. Marshall v. Nat’l Football League, 787 F.3d 502 (8th Cir. 2015)

 4   (quotations, citations omitted) (“Some of these states have statutes setting forth the parameters

 5   of rights of publicity. . . . Others rely on their common law to establish such rights. . . . And still

 6   others do not recognize such rights at all.”)

 7           Significant differences among right of publicity statutes include the fact that certain

 8   states do not recognize a right of publicity at all (Alaska, Colorado, Delaware, Idaho, Iowa,

 9   Kansas, Maine, Maryland, Mississippi, Montana, North Carolina, North Dakota, Oregon,

10   Vermont, and Wyoming). Additionally, the scope of unlawful use varies; statutes of limitations

11   vary; certain states do not allow (or limit) statutory or punitive damages; express/implied

12   consent laws vary; etc. These are material differences that create a conflict because they spell

13   the difference between the success and failure of a claim.

14                   2.      Plaintiffs’ class claims present questions of varying state law.

15           Courts have recognized that, under the most significant relationship test, the appropriate

16   law for a claim for violation of an individual’s right of publicity will be “the state which, with

17   respect to the particular issue, has the most significant relationship to the occurrence and the

18   parties,” which “will usually be the state where the plaintiff was domiciled at the time if the

19   matter complained of was published in that state.” The Cousteau Society, Inc. v. Cousteau, 498

20   F. Supp. 3d 287, 314 (D. Conn. 2020) (quoting Restatement (Second) of Conflict of Laws §

21   153). Plaintiffs purport to only apply Washington law to a nationwide putative class when it

22   cannot apply to all members of the class. Therefore, the Court should strike their class

23   allegations. See, e.g., Lightbourne v. Printroom Inc., 307 F.R.D. 593, 597-98 (C.D. Cal. 2015)

24   (denying certification in right of publicity case after refusing to apply California law class-

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 1   wide); Dryer v. Nat’l Football League, 2013 WL 5888231 at *7 (denying certification after

 2   declining to apply right of publicity laws of New Jersey to nationwide class).

 3          E.      The Illinois and Ohio statutes preclude class actions.

 4          The Ohio Right of Publicity in Individual’s Persona Act (“ORPIPA”) permits only

 5   certain persons to bring a civil action including the owner of the individual’s right to privacy, a

 6   person expressly authorized in writing by the owner of an individual’s right of publicity to bring

 7   a civil action, and a person to whom ownership or any portion of ownership of an individual’s

 8   right of publicity has been transferred. See Ohio Rev. Code Ann. § 2741.06. Similarly, the

 9   Illinois Right of Publicity Act (IRPA) permits only certain individuals to enforce the rights of

10   the statute, including an individual or his or her authorized representative, a person to whom

11   the recognized rights have been transferred by written transfer, or after the death of an

12   individual who has not transferred the recognized rights by written transfer under this Act, and

13   any person or persons who possesses an interest in those rights. 765 ILS 1075/20.

14          Based on these provisions, this language operates as a class-action bar. Under the Shady

15   Grove analysis, a class action bar under these statutes conflicts with Rule 23. See, e.g., Hine,

16   680 F. Supp. 3d at 867. As to ORPIPA, the provision is substantive and not procedural.

17   Applying Justice Stevens’s Shady Grove analysis, ORPIPA’s private right of action provision

18   is a section of the substantive law itself and applies only to claims brought under that state

19   substantive law. See Hine, 680 F. Supp. 3d at 867. Legislative history further supports these

20   factors. See Ohio Bill Analysis, 1999 S.B. 54. These factors demonstrate that the provision is

21   substantive, which the Enabling Act may not “abridge, enlarge or modify.” Shady Grove, 559

22   U.S. at 417.

23          A similar analysis applies to the provision in IRPA. See Bohen v. ConAgra Brands, Inc.,

24   No. 23 C 1298, 2024 U.S. Dist. LEXIS 52409, at *31 (N.D. Ill. Mar. 25, 2024) (citing Justice

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 1   Stevens’s concurring opinion in analyzing whether a class action under Virginia’s Consumer

 2   Protection Act could proceed in federal court). Here, IRPA’s private right of action provision

 3   is a section of IRPA itself and not a general rule banning class actions. Moreover, the provision

 4   defines the scope of the statutory right, further demonstrating that it is substantive in nature.

 5          Because these bars are substantive, they are not preempted by Rule 23. Accordingly,

 6   Plaintiffs are barred from bringing their class claims under these statutes.

 7          F.      The Proposed Classes Must Be Stricken Because They Are Overly Broad.

 8          Plaintiffs’ putative classes are also overly broad in their failure to limit the classes based

 9   on time and scope. Plaintiffs’ over-inclusive definitions necessarily include individuals who

10   have no viable claim against RocketReach, as they include individuals whose claims would be

11   precluded by applicable statutes of limitations and those without standing to sue. Accordingly,

12   the classes could never be certified.

13          Courts regularly decline to certify overbroad classes. See Holmes v. Pension Plan of

14   Bethlehem Steel Corp., 213 F.3d 124, 138 (3d Cir. 2000) (affirming denial of class certification

15   because proposed class was overly broad). And, where a “defined class is facially overbroad, it

16   is appropriate to strike the class allegations at the pleadings stage.” Vann v. Dolly, Inc., No. 18

17   C 4455, 2020 U.S. Dist. LEXIS 31678, at *12 (N.D. Ill. Feb. 25, 2020). In a class action, each

18   class member must establish Article III standing in order to pursue a claim for relief.

19   TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021).

20                  1.      Plaintiffs’ putative class definitions include no time limitations.

21          None of Plaintiffs’ ten putative class definitions include any limitation of the class based

22   on time. This is inappropriate given that the right of publicity statutes are subject to statutes of

23   limitation. For example, California statutory and common law right of publicity claims are

24   subject to a two-year statute of limitations. Christoff v. Nestle USA, Inc., 213 P.3d 132, 135

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 1   (Cal. 2009). Right of publicity claims under IRPA are subject to a one-year statute of

 2   limitations. Blair v. Nevada Landing P’ship, 859 N.E.2d 1188, 1192 (Ill. App. 2d Dist. 2006).

 3   An action under ORPIPA must be brought within four years of a violation. ORC Ann. §

 4   2741.07(C). The WPRA does not include an explicit statute of limitations, but the state’s

 5   general three-year statute of limitations for injury to persons or property may apply. Wash. Rev.

 6   Code. § 4.16.080(2).

 7          Because Plaintiffs’ putative class definitions are not limited based on time, the class

 8   allegations should be stricken.

 9                  2.      Plaintiffs’ putative class definitions do not exclude those individuals who

10                          provided consent.

11          The right of publicity statutes under which Plaintiffs are proceeding typically provide

12   that a violation exists when an individual’s information is used for commercial purposes

13   without that person’s consent. See Cal. Civ. Code § 3344(a) (“any person who knowingly uses

14   another’s name, voice, signature, photograph, or likeness, in any manner … for purposes of

15   advertising … without such person’s prior consent … shall be liable for any damages sustained

16   by the person.”); 765 ILCS 1075/30(a) (“A person may not use an individual’s identity for

17   commercial purposes during the individual’s lifetime without having obtained previous written

18   consent from the appropriate person or persons specified in Section 20 of this Act [765 ILCS

19   1075/20] or their authorized representative.”); Ohio Rev. Code § 2741.02 (“a person shall not

20   use any aspect of an individual’s persona for a commercial purpose . . . [d]uring the individual’s

21   lifetime” without that individual’s written consent); Wash. Rev. Code § 63.60.050 (“Any person

22   who uses or authorizes the use of a living or deceased individual’s or personality’s name, voice,

23   signature, photograph, or likeness, on or in goods, merchandise, or products entered into

24   commerce in this state, or for purposes of advertising products, merchandise, goods, or services,

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 1   or for purposes of fund-raising or solicitation of donations, or if any person disseminates or

 2   publishes such advertisements in this state, without written or oral, express or implied consent

 3   of the owner of the right, has infringed such right.”)

 4          Here, Plaintiffs’ proposed classes fail to exclude individuals who provided consent to

 5   be included in Defendant’s database. Courts routinely reject class definitions as impermissibly

 6   overbroad where the proposed class includes individuals whose consent would provide that they

 7   had no grievance under the applicable statute. See, e.g., Martinez v. TD Bank USA, N.A., 2017

 8   U.S. Dist. LEXIS 101979, at *34 (D.N.J. June 30, 2017) (Telephone Consumer Protection Act

 9   (“TCPA”) class was not ascertainable because it would require mini trials to identify individuals

10   who did not provide prior express consent); see also Warnick v. Dish Network LLC, 301 F.R.D.

11   551, 559 (D. Colo. 2014) (denying class certification in TCPA case, finding that class was

12   overbroad and not sufficiently ascertainable where, among other problems, one sub-class

13   included persons called with consent). This is because, under the right of publicity statutes

14   identified above, use of information with consent is fatal to an individual’s claim.

15          For this reason, Plaintiffs’ class allegations should be stricken.

16          G.      Plaintiffs’ allegations reveal that individualized issues predominate,

17                  making a class action inappropriate

18          To maintain a class action, the plaintiff must show that issues of law and fact common

19   to the class predominate over issues involving individual class members. Fed. R. Civ. P.

20   23(b)(3). Where the right to recover is predominated by individual issues, policy considerations

21   compel the striking of class allegations at the pleading stage.

22                  1.      Plaintiffs’ claims require proof of individualized coverage by the

23                          relevant statute

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 1          The right of publicity statutes at issue apply to certain information, including name,

 2   likeness, photographs, etc. See, Cal. Civ. Code § 3344(a) (applying to “name, voice, signature,

 3   photograph, or likeness”); 765 ILCS 1075/5 (applying to “any attribute of an individual that

 4   serves to identify that individual to an ordinary, reasonable viewer or listener, including but not

 5   limited to: (i) name, (ii) signature, (iii) photograph, (iv) image, (v) likeness, or (vi) voice.”);

 6   Ohio Rev. Code § 2741.01 (“an individual’s name, voice, signature, photograph, image,

 7   likeness, or distinctive appearance, if any of these aspects have commercial value.”); Wash.

 8   Rev. Code § 63.60.050 (applying to name, voice, signature, photograph, or likeness).

 9          Members of the putative classes will have variations among the information included in

10   any free preview or free-trial profiles in RocketReach’s database. Indeed, variation exists

11   among the Plaintiffs themselves. For example, the profile of one of the Plaintiffs, Heather

12   Nicastro, does not include her photograph, while the profiles of the other Plaintiffs do.

13   Complaint ¶¶ 112, 132, 150, 169. Plaintiffs’ class definitions make no accounting for these

14   variations, as the class members only include those persons for whom Defendant established a

15   free-preview or free-trial profile page. Critically, Plaintiffs do not even account for whether

16   those profiles include any of the information covered by the statutes at all.

17          Therefore, any class determination would require mini trials to determine whether the

18   profiles at issue include the information governed by the right of publicity statute at issue.

19                  2.      Plaintiffs’ claims require individualized proof of those individuals who

20                          agreed to arbitrate their claims and/or waived class claims.

21          As explained in Defendant’s Motion to Compel Arbitration, to obtain a free-trial of

22   RocketReach’s website, a user must create an account. As part of creating an account, the user

23   agrees to RocketReach’s Terms of Service, which includes an arbitration agreement and class

24   action waiver. Plaintiffs’ class definitions include no consideration of whether class members

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 1   have created accounts. Those who have created accounts would be subject to the arbitration

 2   agreement and class action waiver such that they would be excluded from the class definitions.

 3   If they are not, the proceedings would devolve into mini-trials to make that individualized

 4   determination. For this reason, Plaintiffs’ class allegations should be stricken.

 5                  3.      Plaintiffs’ claims require individualized proof of ownership of rights.

 6          As explained above, ORPIPA and IRPA limit those who can enforce the pertinent

 7   statute. Nevertheless, Plaintiffs’ class definitions include all “natural persons” for whom

 8   Defendant established either a free-preview or free-trial “profile” page, without regard to

 9   whether that person maintains the right under the relevant statute. Because Plaintiffs’ class

10   definitions fail to account for the limitations of those permitted to bring civil actions and would

11   otherwise require individualized proof of same, those classes should be stricken as well.

12                  4.      Plaintiff’s claims require proof of individualized commercial value

13          The Ohio right of publicity statute applies to the use of an individual’s persona, which

14   is defined as “an individual’s name, voice, signature, photograph, image, likeness, or distinctive

15   appearance, if any of these aspects have commercial value.” Ohio Rev. Code § 2741.01. As

16   Defendant argues in its Motion to Dismiss, Plaintiff Nicastro is unable to establish that her

17   persona has commercial value. Again, none of the class definitions account for this requirement

18   or a means to make the determination on the class-wide basis. Accordingly, proof of

19   commercial value will need to be provided on a case by case basis.

20                  5.      Plaintiffs’ claims require proof of individualized damages

21          As explained in Defendant’s Motion to Dismiss filed contemporaneously with this

22   Motion, each of the Plaintiffs identically allege that, “Upon learning that [his or her] name,

23   photograph, and other personally identifying information was being used by Defendant to

24   advertise its products and services on the open market for its own financial gain, Plaintiff . . .

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 1   became worried, frustrated, and concerned, disturbing [his or her] peace of mind in a

 2   meaningful way—just as would occur to any reasonable person under the same or similar

 3   circumstances.” Complaint ¶¶ 128, 146, 164, 183. Defendant contends that Plaintiffs’

 4   allegations of damage are insufficient to establish standing under Article III. Moreover, any

 5   putative class members alleging similar injury will be unable to establish standing.

 6          Plaintiffs’ class definitions fail to account for variations in the damages of putative class

 7   members, including the exclusion of damages that are not sufficient to establish standing. For

 8   this reason, putative class members would be required to establish damages on an individual

 9   basis such that the class determination would devolve into a series of mini trials just on the basis

10   of alleged injury alone. Allowing this case to proceed as a class action would make it necessary

11   to determine whether each putative class member has suffered (or is likely to suffer) any

12   damages or injuries, and if so, whether these damages or injuries were incurred as a result of

13   Defendant’s actions or some other reason.

14          From the face of the Complaint, it is clear that individualized issues predominate here

15   because the claims inherently require individual appraisal of each person’s circumstances and

16   damages.

17          H.      Plaintiffs’ class allegations should be stricken because a class action is not a

18                  superior method to adjudicate the controversy

19          To sustain a class action, Plaintiffs must also show that the class action method is

20   superior to other available methods for the fair and efficient adjudication of the controversy.

21   Rule 23(b)(3). Here, allowing Plaintiffs’ claims to proceed as a class action would abridge

22   Defendant’s substantive rights to litigate individual defenses. Further, if Defendant’s

23   substantive rights to litigate individual defenses were to be preserved, the need for multiple

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 1   individual trials and corresponding manageability difficulties establish the unsuitability of a

 2   class action proceeding.

 3                                           CONCLUSION

 4            For the reasons set forth herein, Defendant respectfully requests the Court to grant its

 5   motion to strike all class claims in the Complaint.

 6            I certify that this pleading contains 5291 words in compliance with the Local Civil

 7   Rules.

 8            DATED this 27th day of December, 2024.

 9                                                         WILSON, ELSER, MOSKOWITZ,
                                                           EDELMAN & DICKER LLP
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 1                                   CERTIFICATE OF SERVICE

 2          The undersigned certifies that on December 27, 2024, a true and correct copy of the
     foregoing was served on the attorneys of record listed below, via the method indicated:
 3
            Counsel for Plaintiffs                        U.S. Mail
 4
            Nick Major, WSBA #49579                      ☐ Hand Delivery
            NICK MAJOR LAW                               ☐ Facsimile
 5          450 Alaskan Way S, #200                      ☐ Overnight
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 7          Tyler K. Somes, Pro Hac Vice
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 8          Washington, D.C. 20005
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 9

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            I certify under the penalty of perjury under the laws of the State of Washington that the
11   foregoing is true and correct.

12          DATED this 27th day of December, 2024, at Seattle, Washington.

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14                                                /s/J. Y’honatan Frakes
                                                  J. Y’honatan Frakes, Legal Assistant
15                                                Yhon.frakes@wilsonelser.com

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